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                 Exhibit A
Case No. 1:12-cv-1332 (ABJ)
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                                                  SUBPOENA



               B Y A U T H O R I T Y OF T H E H O U S E O F REPRESENTATIVES O F T H E
                        CONGRESS OF T H E UNITED STATES OF AMERICA




To The Honorable Eric H. Holder, Jr., Attorney General of the United States

          You are hereby commanded to be and appear before the      committee on oversight and Gavemment Reform



          of the House of Representatives of the United States at the place, date and time specified belovy^,

f~|       to testify touching matters of inquiry committed to said committee or subcommittee; and you are not to
          depart without leave of said committee or subcommittee.


          Place of testimony;

           Date:                                                                 Time:



[7]       to produce the things identified on the attached schedule touching matters of inquiry committed to said
          committee or subcommittee; and you are not to depart without leave of said committee or subcommittee.


           Place of production: 2157 Rayburn House Office Building, Washington, D.C. 20515

           Date; January 7, 2013                                                  Time: 12:00 noon


Jo any authorized staff member

                                                                                                to serve and make rettirn.

                                Witness my hand and the seal of the House of Representatives of the United States,
                                    at the city of Washington, this 3*^        day of — ^ < f ^ J ; : ^ ^ /       , 20   .



Attest:                                                                              Chdmnan or Authorized Member


Clerk
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                                       SCHEDULE

    In accordance with the attached schedule instructions, you, Eric H. Holder
    Jr., are required to produce all records in unredacted form described below:

    A l l communications refening or relating to Operation Fast and Furious, the Jacob
    Chambers case, or any Organized Crune Drag Enforcement Task Force (OCDETF)
    firearms trafficking case based in Phoenix, Arizona, to or from the following individuals:

        a.   Eric Holder .Ir., Attorney General;
       b.    David Ogden, Fonner Deputy Attorney General;
       c.    Gary Grindler, Office of the Attorney General and fonner Acting Deputy
             Attorney General;
       d.    James Cole, Deputy Attorney General;
       e.    Lanny Breuer, Assistant Attorney General;
       f     Ronald Welch, Assistant Attorney General;
       g.    Kenneth Blanco, Deputy Assistant Attorney General;
       h.    Jason Weinstein, Deputy Assistant Attorney General;
       i.    Jolm Keeney, Deputy Assistant Attorney General;
       j.    Bruce Swartz, Deputy Assistant Attorney General;
       k.    Matt Axehod, Associate Deputy Attorney General;
       1.    Ed Siskel, fonner Associate Deputy Attorney General;
       m..   Brad Smith, Office of the Deputy Attorney General;
       n.    Kevin Carwile, Section Chief Capital Case Unit, Criminal Division;
       0.    Joseph Cooley, Criminal Fraud Section, Criminal Division; and,
       p.    James Trusty, Acting Chief Organized Crime and Gang Section.

    A l l communications between and among Department of Justice (DOJ) employees and
    Executive Office of the President employees, including but not limited to Associate
    Communications Director Eric Schultz, referring or relating to Operation Fast and
    Furious or any other firearms trafBcking cases.

    A l l communications between DOJ employees and Executive Office of the President
    employees refening or relating to the President's March 22, 2011 interview with Jorge
    Ramos of Univision.

    A l l documents and communications refening or relating to any instances prior to
    Februaiy 4,2011 where the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)
    failed to interdict weapons that had been illegally purchased or transfeired.
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  5. A l l documents and connnunications referring or relating to any instances prior to
     Febraary 4, 2011 where ATF broke off suiweillance of weapons and subsequently
     became aware that tliose weapons entered Mexico.

  6. A l l documents and communications referring or relating to the murder of Immigrations
     and Customs Enforcement Agent .laime Zapata, including but not limited to documents
     and communications regarding Zapata's mission when he was murdered, Form for
     Reporting Infomration That May Become Testimony (FD-302), photographs of the crime
     scene, and investigative reports prepared by the FBI.

  7. A l l communications to or from William Newell, former Special Agent-in-Charge for
     ATF's Phoenix Field Division, between:

        a.    December 14, 2010 to .Tanuaiy 25, 2011; and,
        b,    March 16, 2009 to March 19, 2009.

 8. A l l Reports of Investigation (ROIs) related to Operation Fast and Furious or ATF Case
    Number 785115-10-0004,

 , 9. A l l communications between and among Matt Axehod, Kenneth Melson, and William
      Hoover refeiring or relatmg to ROIs identified pursuant to Paragraph 8.

  10. A l l documents and communications between and among former U.S. Attorney Dennis
      Burke, Attorney General Eric Holder Jr., former Acting Deputy Attorney General Gary
      Grindler, Deputy Attorney General .lames Cole, Assistant Attorney General Laraiy
      .Breuer, and Deputy Assistant Attorney General Jason Weinstein referring or relating to
      Operation Fast and Furious or any OCDETF case originating in Arizona,

 11. A l l communications sent or received between:

        a.    December 16, 2009 and December 18, 2009, and;
        b.    March 9, 2011 and March 14, 2011, to or fi-om the following individuals:

                 i.   Emoiy Huriey, Assistant U.S. Attorney, Office of the U.S. Attorney for
                      the District of Aiizona;
                ii.   Michael Morrissey, Assistant U. S. Attorney, Office of the U. S. Attorney
                      for the District of Aiizona;
               iii.   Patrick Cunningham, Chief Criminal Division, Office of die U.S.
                      Attorney for the District of Arizona;
               iv.    David Voth, Group Supervisor, ATF; and,
                V.    Hope MacAllister, Special Agent, ATF.
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  12. A l l commiinications sent or received between December 15, 2010 and December 17,
      2010 to or from the following individuals in the U.S. Attorney's Office for the District of
      Arizona:

        a.    Dennis Burke, former United States Attorney;
        b.    Emoiy Hurley, Assistant United States Attorney;
        c.    Michael Monissey, Assistant United States Attorney; and,
        d.    Patrick Cunningham, Chief of the Criminal Division.

 13. A l l communications sent or received between August 7, 2009 and March 19, 2011
     between and among former Ambassador to Mexico Carlos Pascual; Assistant Attorney
     General Lanny Breuer; and, Deputy Assistant Attorney General Bmce Swartz.

 14. A l l communications sent or received between August 7, 2009 and March 19, 2011
     between and among former Ambassador to Mexico Carlos Pascual and any Department of
     Justice employee based in Mexico City referring or relating to fireanns trafficking
     initiatives, Operation Fast and Furious or any tirearms trafficking case based in Aiizona,
     or any visits by Assistant Attorney General Lanny Breuer to Mexico.

 15. Any FD-302 relating to targets, suspects, defendants, or their associates, bosses, or
     financiers in the Fast and Furious investigation, including but not limited to any FD-302s
     ATF Special Agent Hope MacAllister provided to ATF leadership durmg the calendar
     year 2011.

 16. Any investigative reports prepared by the FBI or Drug Enforcement Administration
     (DEA) refening or relating to targets, suspects, or defendants in the Fast and Furious case.

 17. Any investigative reports prepared by the FBI or DEA relating to the individuals
     described to Committee staff at the October 5, 2011 briefing at Justice Depaitment
     headquarters as Target Number 1 and Target Number 2.

18. A l l documents and communications in the possession, custody or control of die DEA
    refening or relating to Manuel Fabian Cells-Acosta.

19. AH documents and communications betw'een and among FBI employees in Arizona and
    the FBI Laboratory, including but not Ihnited to employees in the Firearms/Toolmark
    Unit, refening or relating to the fireaims recovered during the course of the investigation
    of Brian Terry's deatli.

20. A l l agendas, meeting notes, meeting minutes, and follow-up reports for the Attorney
    General's Advisory Committee of U.S. Attorneys between March 1, 2009 and July 31,
    2011, refening or relating to Operation Fast and Furious.

21. All weekly reports and memoranda for the Attorney General, either directly or through the
    Deputy Attorney General, fi-om any employee in the Criminal Division, ATF, DEA, FBI,
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       or the National Drug Intelligence Center created between November 1, 2009 and
       September 30, 2011.

   22, All surveillance tapes recorded by pole cameras inside the Lone Wolf Trading Co. store
       between 12:00 a.m. on October 3, 2010 and 12:00 a.m. on October 7,2010,

                                      Schedule Instructions

1. In complying with this subpoena, you are required to produce all responsive documents that
   are in your possession, custody, or control, whether held by you or your past or present
   agents, employees, and representatives acting on your behalf. You should also produce
   documents that you have a legal right to obtain, that you have a right to copy or to which you
   have access, as well as documents that you have placed in the temporary possession, custody,
   or control of any third party. Subpoenaed records, documents, data or infonnation should not
   be destroyed, modified, removed, transferred or otherwise made inaccessible to the
   Committee.

2. In the event that any entity, organization or individual denoted in this subpoena has been, or
   is also brown by any other name than that herein denoted, the subpoena shall be read also to
   include that alternative identification.

3. The Committee's preference is to receive documents in electi-onic form (i.e,, CD, memory
   stick, or thumb drive) in lieu of paper productions,

4. Documents produced i n electronic fomiat should also be organized, identified, and indexed
   electronically.

5. Electronic document productions should be prepared according to the following standards:

   (a) The production should consist of single page Tagged hnage File ("TIF"), files
       accompanied by a Concordance-format load file, an Opticon reference file, and a file
       defining the fields and character lengths of the load file.

   (b) Document numbers in the load file should match document Bates numbers and TIF file
       names.

   (c) I f die production is completed through a series of multiple partial producfions, field
       names and file order in all load files should match.

6. Documents produced to die Committee should include an index describing the contents of
   the production. To the extent more than one CD, hard drive, memoiy stick, thumb drive, box
   or folder is produced, each CD, hard drive, memoiy stick, thumb drive, box or folder should
   contain an index describing its contents.

7. Documents produced in response to this subpoena shall be produced together with copies of
   file labels, dividers or identifying markers with which they were associated when the
   subpoena was served.
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8. When you produce documents, you should identily the paragraph in the Committee's
   schedule to which the documents respond.

9. It shall not be a basis for refusal to produce documents that any other person or entity also
   possesses non-identical or identical copies of the same documents.

10. I f any of the subpoenaed infomration is only reasonably available in machine-readable form
    (such as on a computer server, hard drive, or computer backup tape), you should consult whh
    the Committee staff to determine the appropriate format in which to produce the information.

11. I f compliance with the subpoena camiot be made in full by .lanuary 7, 2013 at 12:00 noon,
    compliance shall be made to the extent possible by that date. A n explanation of why fiiU
    compliance is not possible shall be provided no later than Januaiy 7, 2013 at 9:00 a.m.

12. In the event that a document is witliheld on the basis of privilege, provide a privilege log
    containing the following infoimation concerning any such document: (a) the privilege
    asserted; (b) the type of document; (c) the general subject matter; (d) the date, author and
    addressee; and (e) the relationship of the author and addressee to each other.

13. I f any document responsive to this subpoena was, but no longer is, in your possession,
    custody, or control, identify the document (stating its date, author, subject and recipients) and
    explain the circumstances under which the document ceased to be in your possession,
    custody, or control,

14. I f a date or other descriptive detail set forth in this subpoena referring to a document is
    inaccurate, but the actual date or other descriptive detail is known to you or is otherwise
    apparent from the context of the subpoena, you are required to produce all documents which
    would be responsive as i f the date or other descriptive detail were conect.

1.5. Witii the exception of paragraphs 4 and 5, the time period covered by this subpoena is from
     August 1,2009 to the present, unless otherwise specified.

16. This subpoena is continuing in natm'e and apphes to any newly-discovered infomiation. Any
    record, document, compilation of data or infomiation, not produced because it has not been
    located or discovered by the return date, shall be produced immediately upon subsequent
    location or discovery.

17. A l l documents shall be Bates-stamped sequentially and produced sequentially.

18. Two sets of docmnents shall be dehvered, one set to the Majority Staff and one set to the
    Minority Staff When documents are produced to the Committee, production sets shall be
    delivered to the Majority Staff in Room 2157 of the Rayburn House Office Building and the
    Minority Staff in Room 2471 of the Rayburn House Office Building.

19. Upon completion of the document production, you should submit a written certification,
    signed by you or your counsel, stating that: (1) a diligent search has been completed of aU
    documents in your possession, custody, or control which reasonably could contain responsive
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 documents; and (2) all documents located duiing the search that are responsive have been
 produced to the Committee.
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                                         Schedule Definitions

1. The term "document" means any written, recorded, or graphic matter of any natui-e
   whatsoever, regardless of how recorded, and whether original or copy, including, but not
    limited to, the ibllowmg: memoranda, reports, expense reports, books, manuals, instructions,
   fmancial reports, working papers, records, notes, letters, notices, confuinations, telegrams,
   receipts, appraisals, pamphlets, magazines, newspapers, prospectuses, inter-office and intra-
   office coimnunications, electronic mail (e-mail), contracts, cables, notations of any type of
   conversation, telephone call, meeting or other communication, bulletms, printed matter,
   computer printouts, teletypes, invoices, transcripts, diaries, analyses, returns, summaries,
   minutes, bills, accounts, estimates, projections, comparisons, messages, con-espondence,
   press releases, circulars, financial statements, reviews, opinions, offers, studies and
   investigations, questionnaires and surveys, and work sheets (and all drafts, preluninary
   versions, alterations, modifications, revisions, changes, and amendments of any of the
   foregoing, as well as any attachments or appendices thereto), and graphic or oral records or
   representations of any kind (including without limitation, photographs, charts, graphs,
   microfiche, microfilm, videotape, recordings and motion pictures), and electronic,
   mechanical, and electric records or representations of any kind (including, without hmitation,
   tapes, cassettes, disks, and recordings) and odier written, printed, typed, or other graphic or
   recorded matter of any kind or nature, however produced or reproduced, and whether
   preserved in writing, film, tape, disk, videotape or otherwise. A document bearing any
   notation not a part of the original text is to be considered a separate document. A draft or
   non-identical copy is a separate document within the meaning of this term.

2. The teim "communication" means each mamier or means of disclosm-e or exchange of
   infomiation, regardless of means utilized, whether oral, electronic, by document or
   othei-wise, and whether in a meeting, by telephone, facsimile, email (desktop or mobile
   device), text message, instant message, : M M S or S M S message, regular mail, telexes,
   releases, or otherwise.

3. The terms "and" and "or" shall be construed broadly and either conjunctively or disjunctively
   to bring witliin the scope of diis subpoena any infonnation wliich might otherwise be
   constraed to be outside its scope. The singular includes plural number, and vice versa. The
   masculine includes the feminine and neuter genders.

4. The terms "person" or "persons" mean natural persons, firms, partnerships, associations,
   corporations, subsidiaries, divisions, departments, joint ventures, proprietorsMps, syndicates,
   or other legal, business or government entities, and all subsidiaries, affiliates, divisions,
   depailments, branches, or other units thereof

5. The term "identify," when used in a question about individuals, means to provide the
   following information: (a) ttte individual's complete name and title; and (b) the individual's
   business address and phone number.

6. The tenn "refening or relating," with respect to any given subject, means anything that
   constitutes, contains, embodies, reflects, identifies, states, refers to, deals with or is pertinent
   to that subject in any manner whatsoever.
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  The term "employee" means agent, borrowed employee, casual employee, consultant,
  contractor, de facto employee, independent contractor, joint adventiner, loaned employee,
  part-time employee, peimanent employee, persoimel, provisional employee, staffer,
  subcontractor, or any other type of seiwice provider.

  The terms "Target Number 1" and "Target Nimrber 2" mean the individuals identified as
  such during the October 5, 2011 briefing for congressional staff provided by FBI, DEA,
  ATF, and DOJ employees at DOJ headquarters.
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                                        PROOF OF SERVICE




                The Honorable Eric H. Holder, Jr., Attorney General of die Unhed States


   Address U.S. Department of Justice

    950 Pennsylvania Avenue NW, Washington, D.C. 20530

   before the Committee on Oversight and Government Reform



   U.S. House of Representatives
   113(h Congress




Served by (print name) Kerry W. Kircher

Title General Counsel, U.S. House of Representatives

Manner of service (1) Electronic mail on Jan. 3, 2013 to John R. Tyler and Eric Womack, and

(2) Facsimile on Jan. 4, 2013 to John R. Tyler and Eric Womack

Date Jan. 4, 2013

Signature of Server

Address 219 Cannon House Bldg.


Washington, D.C. 20515
